                Case 2:18-cv-01543-JLR Document 139 Filed 04/29/19 Page 1 of 3



 1                                                                      The Honorable James L. Robart
 2

 3

 4

 5

 6

 7

 8
                                 UNITED STATES DISTRICT COURT
 9                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
10
     BOMBARDIER INC.,                      )
11                                         )
                 Plaintiff,                )
12                                         )                NO. 2:18-cv-1543-RAJ
          v.                               )
13
                                           )
     MITSUBISHI AIRCRAFT CORPORATION, )                     STIPULATED AGREEMENT RE
14   MITSUBISHI AIRCRAFT CORPORATION                        TIME TO ANSWER
     AMERICA, INC.; AEROSPACE TESTING      )
15   ENGINEERING & CERTIFICATION, INC.; )
     MICHEL KORWIN-SZYMANOWSKI;            )
16   LAURUS BASSON; MARC-ANTOINE           )
     DELARCHE; CINDY DORNÉVAL; KEITH )
17   AYRE; and JOHN AND/OR JANE DOES 1-88, )
                                           )
18               Defendants.               )
                                           )
19

20           Counsel for Aerospace Testing Engineering & Certification, Inc. (“AeroTEC”), Michel
21   Korwin-Szymanowski, Laurus Basson, and Cindy Dornéval (collectively, the AeroTEC
22   Defendants”) and counsel for Bombardier Inc. (the “Plaintiff”) have met and conferred about the
23   schedule for filing pleadings in this matter in light of the Court’s April 15, 2019, Order on Motions
24   to Dismiss (Dkt. # 136), pursuant to which certain claims in Plaintiff’s Complaint were dismissed.
25   Counsel for the parties hereby stipulate that, unless otherwise agreed or ordered by the Court, the
26   AeroTEC Defendants shall have until Tuesday, May 14, 2019, to answer or otherwise respond to
27   the Complaint or to any amended complaint that Plaintiff files on or before April 30, 2019.
28
                                                                                  KARR TUTTLE CAMPBELL
                                                                                  701 Fifth Avenue, Suite 3300
     STIPULATION - 1                                                               Seattle, Washington 98104
     #1241944 v4 / 45898-028                                                              Main: (206) 223 1313
                                                                                           Fax: (206) 682 7100
                Case 2:18-cv-01543-JLR Document 139 Filed 04/29/19 Page 2 of 3



 1           So stipulated and agreed to this 29th day of April, 2019, by:
 2   KARR TUTTLE CAMPBELL                                  CHRISTENSEN O’CONNOR
 3   Attorneys for Defendants AeroTEC, Basson,             JOHNSON KINDNESS
     Dornéval and Korwin-Szymanowski                       Attorneys for Plaintiff Bombardier Inc.
 4
     s/Richard J. Omata                                    s/Brian F. McMahon (per email authority)
 5   Richard J. Omata, WSBA No. 7032                       John D. Denkenberger, WSBA No. 25907
     Mark A. Bailey, WSBA No. 26337                        Brian F. McMahon, WSBA No. 45,739
 6   Daniel T. Hagen, WSBA No. 54015                       E. Lindsay Calkins, WSBA No. 44,127
 7   701 Fifth Avenue, Suite 3300                          1201 Third Avenue, Suite 3600
     Seattle, WA 98104                                     Seattle, WA 98101-3029
 8   Phone: (206) 223-1313                                 Phone: (206) 682-8100
     Fax: (206) 682-7100                                   Fax: (206) 224-0779
 9   Email: romata@karrtuttle.com                          Email: john.denkenberger@cojk.com
             mbailey@karrtuttle.com                                Brian.mcmahon@cojk.com
10           dhagen@karrtuttle.com                                 Linsay.calkins@cojk.com
11                                                                 litdoc@cojk.com

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28
                                                                                 KARR TUTTLE CAMPBELL
                                                                                701 Fifth Avenue, Suite 3300
     STIPULATION - 2                                                             Seattle, Washington 98104
     #1241944 v4 / 45898-028                                                            Main: (206) 223 1313
                                                                                         Fax: (206) 682 7100
                Case 2:18-cv-01543-JLR Document 139 Filed 04/29/19 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE
 2           I, Sherelyn Anderson, affirm and state that I am employed by Karr Tuttle Campbell in King
 3   County, in the State of Washington. I am over the age of 18 and not a party to the within action.
 4   My business address is: 701 Fifth Avenue, Suite 3300, Seattle, WA 98101. On this day, I
 5   electronically filed the foregoing Stipulated Agreement re Time to Answer with the Clerk of the
 6   Court and caused it to be served upon all counsel of record using the CM/ECF system, including
 7   the following.
 8
     Brian F. McMahon, WSBA #45739                         Jerry A. Riedinger, WSBA #25828
 9   John D. Denkenberger, WSBA #25907                     Mack H. Shultz, Jr., WSBA #27190
     Christensen O'Connor Johnson & Kindness               James Sanders, WSBA #24565
10   1201 Third Avenue, Suite 3600                         Mary Z. Gaston, WSBA #27258
     Seattle, WA 98101-3029                                Shylah R. Alfonso, WSBA #33138
11   Phone: (206) 682-8100                                 Perkins Coie LLP
     Fax: (206) 224-0779                                   1201 3rd Avenue, Suite 4900
12
     Email: brian.mcmahon@cojk.com                         Seattle, WA 98101-3099
13           denkenj@cojk.com                              Phone: (206) 359-8000
     Attorneys for Plaintiff                               Fax: (206) 359-9000
14                                                         Email: jriedinger@perkinscoie.com
                                                                   mshultz@perkinscoie.com
15   Jacob P. Freeman, WSBA #54123                                 jsanders@perkinscoie.com
     James P. Savitt, WSBA #16847                                  mgaston@perkinscoie.com
16   Savitt Bruce & Willey LLP                               salfonso@perkinscoie.com
17   1425 Fourth Avenue, Suite 800                    Attorneys for Mitsubishi Aircraft
     Seattle, WA 98101-2272                           Corporation America, Inc.
18   Phone: (206) 749-0500
     Email: jfreeman@sbwllp.com
19           jsavitt@sbwllp.com
     Attorneys for Keith Ayre and Marc-Antoine Delarche
20

21           I declare under penalty of perjury under the laws of the United States that the foregoing is

22   true and correct, to the best of my knowledge.

23           Dated this 29th day of April, 2019, at Seattle, Washington.

24                                                 s/Sherelyn Anderson
                                                   Sherelyn Anderson
25
                                                   Litigation Legal Assistant
26
27

28
                                                                                  KARR TUTTLE CAMPBELL
                                                                                 701 Fifth Avenue, Suite 3300
     STIPULATION - 3                                                              Seattle, Washington 98104
     #1241944 v4 / 45898-028                                                             Main: (206) 223 1313
                                                                                          Fax: (206) 682 7100
